      Case: 1:19-cv-06944 Document #: 1 Filed: 10/22/19 Page 1 of 32 PageID #:1




                 IN THE UNITED STATES DISTRICT COURT FOR
            THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

CHARTWELL STUDIO, INC.                               )
                                                     )
                      Plaintiff,                     )      Case No.: 1:19-cv-06944
                                                     )
       v.                                            )
                                                     )
TEAM IMPRESSIONS, INC.                               )
THE PEEL PEOPLE, LLC                                 )
                                                     )
                      Defendants.                    )


                                   PLAINTIFF’S COMPLAINT
       Plaintiff CHARTWELL STUDIO, INC. (“Chartwell”), by and through its attorneys,

Duggan Bertsch, LLC, hereby complains of Defendants, TEAM IMPRESSIONS, INC. (“Team

Impressions”), and THE PEEL PEOPLE, LLC, (“Peel People”), as follows:

                        NATURE OF CASE AND RELIEF SOUGHT

       1.      This action involves a dispute over the design, manufacture, marketing, sales, and

distribution of certain removable, self-adhesive stickers and decals produced by the Plaintiff (the

“Chartwell Products”), and misappropriated by the Defendants.

       2.      For virtually its entire existence, beginning in 2002, Chartwell utilized Team

Impressions, a manufacturer, to print and package Chartwell Products, principally stickers and

decals, which Chartwell then sold to some of the largest discount retailers in the United States,

including Dollar Tree Stores, Inc. (“Dollar Tree”). This symbiotic relationship continued

uninterrupted until early 2018 when, following unsuccessful price negotiations between Chartwell

and Team Impressions, Chartwell was forced to seek an alternative manufacturer for its stickers

and decals being supplied to Dollar Tree.
       Case: 1:19-cv-06944 Document #: 1 Filed: 10/22/19 Page 2 of 32 PageID #:2




        3.       Following termination of this manufacturing relationship, Chartwell came to realize

that Team Impressions was not just a printer/manufacturer, but had, in conjunction with Peel

People, contrived a sales and marketing plan to steal Chartwell’s products and designs and

interfered directly with one of its most significant customers, Dollar Tree.

        4.       Team Impressions was not “just a manufacturer” as it had repeatedly represented

to Chartwell. Team Impressions, in conjunction with its affiliate, Peel People, began competing

with Chartwell directly in marketing, sale and distribution of products derived entirely from the

copying of Chartwell Products (“Defendant Products”), all in an unlawful manner.

        5.       Vertically integrating, and venturing into a new line of business to fairly compete

with Chartwell would be one thing, but the actions undertaken by Defendants were particularly

egregious – they stole Chartwell’s work, and then sold it to Chartwell’s customer, Dollar Tree.

        6.       One need only look at the vast array of products from both parties, side-by-side, to

grasp the overwhelming evidence that Defendants engaged in a scheme of wrongful conduct that

has culminated in the willful misappropriation of what is the very essence of Chartwell Products

and business.

        7.         Components of Chartwell Products were reproduced by Defendants as exact, or

near exact copies of Chartwell Products. A set of photographs depicting side-by-side images of

Chartwell Products and Defendant Products is attached hereto as Exhibit 1.1

        8.       The copying of the decals and stickers is problematic in its own right, but

Defendants were even more brazen in their campaign to copy Chartwell and steal its work. Even

the packaging was identical or nearly identical, utilizing similar designs, color schemes, and text




1
 Chartwell will present physical copies of all products to the Court, as needed, in order to further demonstrate the
overall similarities between the products, as detailed herein.

                                                         2
      Case: 1:19-cv-06944 Document #: 1 Filed: 10/22/19 Page 3 of 32 PageID #:3




in order to deceive consumers and capitalize upon the confusing similarity between the products,

in a clear case of trade dress infringement.

       9.      This conduct became so brazen that Defendant Products began to be sold in displays

at Dollar Tree stores - displays that were purchased by Chartwell, designed by Chartwell, and

supplied to thousands of Dollar Tree stores for the purpose of displaying, marketing, and selling

Chartwell Products. See photographs depicting sale displays, attached hereto as Exhibit 2.

       10.     Defendants’ wrongful conduct even goes beyond what can be easily discerned by

the average consumer of these types of products. Defendants also had access to, and used

Chartwell’s trade secrets in the development and sale of the Defendant Products, including

misappropriation of Chartwell’s proprietary technical specifications, productions files, and pricing

model, all of which had been developed over time, and which Defendants knew and acknowledged

was confidential, all so that it could undercut Chartwell with Dollar Tree.

       11.     Defendants’ glaring bad faith is undeniable. They knew that Chartwell ran a

successful business, and over a period of time, engaged in methodical and deliberate actions

intended to capitalize on the same market, and they did so by copying virtually every critical aspect

of Chartwell’s business, top to bottom.

       12.     As detailed in this Complaint, Defendants caused Chartwell in 2019 to lose

significant sales volume and diminished margins with its customer Dollar Tree, while Defendants

directly benefited. Comparing 2018 to 2019, for the eight-month fiscal period ending August 31,

2019, Chartwell unit volumes with Dollar Tree dropped twenty-six percent (26%). Additionally,

as a direct result of Defendants’ interference with Dollar Tree, beginning in the fourth quarter of

2018 and through 2019, in order to retain business and competing against its own copied products,

Chartwell was forced to suffer price concessions with Dollar Tree. Those concessions to date have



                                                 3
      Case: 1:19-cv-06944 Document #: 1 Filed: 10/22/19 Page 4 of 32 PageID #:4




accumulated to $480,000 and damages continue to mount as Chartwell’s sales are continuing to

suffer.

          13.   This illegal conduct has caused Chartwell material economic harm both in volume

of sales and sale price, and if not enjoined, will continue to cause significant irreparable harm to

Chartwell, depleting its sales to Dollar Tree, other retailers and consumers alike, while also causing

serious harm to its reputation and goodwill as well as critical loss of its identity among consumers.

                                          THE PARTIES

          14.   Plaintiff Chartwell is an Illinois corporation with its principal place of business at

320 W. Ohio Street, Suite 3W, Chicago, Illinois 60654.

          15.   Defendant Team Impressions is an Illinois corporation with its principal place of

business at 360 Scott Street, Elk Grove Village, Illinois 60007.

          16.   Defendant Peel People is a Delaware corporation with its principal place of

business at 360 Scott Street, Elk Grove Village, Illinois 60007, the same address as Team

Impressions.

          17.   Upon information and belief, Team Impressions merged with, purchased, or

otherwise became affiliated with Peel People, or at minimum, is sharing employees, and critical

business information, including that which has been misappropriated from Chartwell.

                                 JURISDICTION AND VENUE

          18.   This court has original subject matter jurisdiction over this case pursuant to 28

U.S.C. § 1121, 18 U.S.C. § 1331, and 18 USC § 1338, and has supplemental jurisdiction pursuant

to 28 U.S.C. 1367(a).




                                                  4
       Case: 1:19-cv-06944 Document #: 1 Filed: 10/22/19 Page 5 of 32 PageID #:5




        19.     This court has personal jurisdiction over Defendant Team Impressions because

Team Impressions is an Illinois Corporation with its principal place of business at 360 Scott Street,

Elk Grove Village, Illinois 60007.

        20.     This court has personal jurisdiction over Defendant Peel People because Peel

People has its principal place of business at 360 Scott Street, Elk Grove Village, Illinois 60007.

        21.     This court also has personal jurisdiction over this matter because this suit arises out

of actions that occurred in the State of Illinois.

        22.     Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391 because all, or

a substantial part of the actions and transactions at issue occurred within the Northern District of

Illinois.

                             FACTS COMMON TO ALL COUNTS

                                             Background

        23.     Chartwell is a privately owned, Chicago-based, boutique design group specializing

in the design, development and production of fashionable and artful crafts, personal accessories

and home décor consumer goods, including wall decals, adhesive stickers, and other similar

products, which are distributed and sold through décor and craft departments of leading discount

retailers throughout North America.

        24.     Chartwell has over fifteen (15) years of experience in the design, printing, and craft

industry. Chartwell prides itself as being responsive to the design sensibilities of the consumer,

while also protecting the margins of its retail partners.

        25.     Chartwell-owned brands include Wall Wear Removable Stickers®, Main Street

Wall Creations ®, and Scamper Studio® (the “Chartwell Brands”):




                                                     5
      Case: 1:19-cv-06944 Document #: 1 Filed: 10/22/19 Page 6 of 32 PageID #:6




       26.     Chartwell owns federal registrations for the foregoing trademarks.            See U.S.

Trademark Registration Nos. 3241695, 3665050, and 4555117. Chartwell considers its intellectual

property as a key component and valuable asset to its core business, and ability to compete and

stay in business.

       27.     Team Impressions is a Chicago-area based manufacturer of in-line printed

products, and as presented on its website, are “specialists in pressure sensitive papers, films, and

foils, with 30 years serving companies that supply the craft, scrapbooking, home décor,

automotive, education, and children’s activity book trade.”

       28.     As advertised, Team Impressions was merely a manufacturer, with no history of,

or future intention to engage in business in other areas of the distribution chain - a fact it adamantly

reiterated to Chartwell on numerous occasions.

       29.     Peel People’s business started in 2013, well after Chartwell, and focuses on the

same markets as Chartwell.        On its website, Peel People represents itself as, “a leading

manufacturer of peel & stick products - designed, printed and sold in the United States. We



                                                   6
      Case: 1:19-cv-06944 Document #: 1 Filed: 10/22/19 Page 7 of 32 PageID #:7




proudly supply the nation's top retailers with stickers, decals, gift tags, classroom items and

wall décor.” Peel People’s products are sold under the name “DIY Décor”:




       30.     Peel People does not have any registrations for DIY Décor.

       31.     Peel People also sells products under a generic “Peel and Stick” product header.

See Exhibit 1 and Exhibit 2.

                            Chartwell - Team Impressions Relationship

       32.      From 2004 to 2018, Chartwell contracted with Team Impressions to print and

package its highly successful line of printed products, including peel-and-stick wall décor decals,

window decals, alphabet poster decals, automotive decals, and other printed products, which

Chartwell then sold to its retail customers, Walmart and Dollar Tree.

       33.     Specifically, Team Impressions produced the Chartwell Products, including

reproduction of proprietary drawings, artwork, packaging, and stylistic designs to Chartwell’s

exact required specifications.

       34.     The contractual terms between Chartwell and Team Impressions were

memorialized, in part, by manufacturing pricing agreements and purchase orders, and the course

of conduct and terms of engagement that had been applicable throughout, and established during

the duration of their business relationship.

       35.     The terms and conditions of the Chartwell/Team Impressions relationship included

specifications related to printing practices, proprietary compositions of paper backing, substrate


                                                7
       Case: 1:19-cv-06944 Document #: 1 Filed: 10/22/19 Page 8 of 32 PageID #:8




and film and foil materials vital to the print process, folding techniques, glue and adhesive

formulas, and all other technical specifications for the Chartwell Products, as well as payment

terms and pricing. An example of purchase orders issued for printing services is attached hereto as

Exhibit 3.

         36.      During the course of its relationship with Team Impressions, and continuing to this

day, Chartwell sold the Chartwell Products to large retailers, including Dollar Tree. Dollar Tree

operates a chain of variety discount stores that sells items for one dollar or less, with approximately

15,000 stores throughout the U.S. and Canada.

         37.      Chartwell’s approximate unit sales to Dollar Tree, for the last several years were as

follows:2

                           Year                                 Unit Sales

                           2019 YTD August                      5,908,000

                           2018 Full Year                     11,985,000

                           2017 Full Year                     10,265,000

         38.       Over a fifteen (15) year relationship, Chartwell has sold Dollar Tree more than 50

million stickers and wall decals. The basis for maintaining this long-lasting relationship rested:

(1) in Chartwell’s innovative, fashion-trending, ever-changing, and consistently updated artful

renderings prepared by its own design group; and (2) with the proprietary, technical specifications

of printing materials and adhesive formulas developed over many years by Chartwell that provided

unique performance attributes. Defendants had knowledge of these proprietary advantages, which

they used to their advantage.




2
 Chartwell will provide pricing to the Court, as needed, to show damages, but its pricing is confidential, as alleged
as part of this Complaint.

                                                          8
      Case: 1:19-cv-06944 Document #: 1 Filed: 10/22/19 Page 9 of 32 PageID #:9




        39.     Throughout its long-term retail customer relationships, Chartwell spent

considerable time and expense to continuously update and revise its peel-and-stick decal programs

to include enhancements to proprietary artwork, materials, printing techniques, product

performance, packaging, and display in order to improve upon and maintain competitive

advantages, adapt to changing consumer trends, react to Dollar Tree purchase orders, custom

design alterations, and proprietary new product development requests, and to generally ensure that

its customer relations and related revenues were maintained.

        40.     As Chartwell’s manufacturer, Team Impressions was privy to all of these efforts

related to Dollar Tree and it was made clear to Team Impressions that this was confidential.

        41.     In fact, Team Impressions has acknowledged that this information, as well as

critical pricing issues, was all proprietary. In this particular line of business, margins are thin, and

thus, each of the foregoing are essential, and must be protected for a business to succeed.

        42.     In June 2014, Chartwell discovered that Peel People, which was being supplied

printed product from Team Impressions, was marketing and selling stickers and decals copied from

Chartwell art and packaged in confusingly similar trade dress to Chartwell offerings of the same

products. With this knowledge and for the many years following 2014, Neil McCallum, Chartwell

CEO, had multiple and continuous in-person meetings with Tom Cipriani, a Team Impressions

executive and the account representative to Chartwell, concerning the nature of the

Chartwell/Team Impressions relationship and his concern that Team Impressions maintain

absolute confidentiality as to proprietary product files including art designs, product specifications,

formulas, and pricing information related to Dollar Tree.

                      Chartwell Products - Trade Dress, Marketing, and Sales




                                                   9
     Case: 1:19-cv-06944 Document #: 1 Filed: 10/22/19 Page 10 of 32 PageID #:10




       43.      As noted, the Chartwell Products have been sold in major retailers across the United

States for over fifteen years, and its market presence is well known, as it has become synonymous

in the space.

       44.      Chartwell now produces dozens of unique products that are sold under the

Chartwell Brands.

       45.      The Chartwell Brands have become well-known, and Chartwell has developed a

sterling reputation in the industry via its sales of high-quality products at a reasonable price.

       46.      The commercial success of the Chartwell Brands is such that its retailer partners,

including Dollar Tree, have set aside entire displays dedicated to Chartwell Products, clearly

delineated by signage including the Chartwell Brands, which Chartwell has paid for. See Exhibit

2.

       47.      The distinctive elements of trade dress associated with the Chartwell Brands

including: (i) a small header, differentiated in a different, bold color, that states at the top “Peel &

Stick”; (ii) a photograph of the Products themselves in use on the right side of the header; (iii)

headers in two distinctive, primary colors, depending on the brand – lime green for its Main Street

Wall Creations brand and navy blue for its Scamper Studios brand; (iv) transparent packaging that

allows for full display of all Products; (v) inclusion of a small green dot on the front of the package

that says “Think Green” as an indicator of environmental consciousness; (vi) the Products

themselves, which due to their high visibility, are a distinctive element of the trade dress; and (vii)

a backside label that encourages consumers to post and share their creations on Facebook, includes

the moniker “Made in the USA,” contains application instructions for the Products, advises that

the Products are choking hazard, and includes further reproductions of the Products.




                                                  10
     Case: 1:19-cv-06944 Document #: 1 Filed: 10/22/19 Page 11 of 32 PageID #:11




        48.        Chartwell’s success has been based, in large part, on its well-designed, well-made

Products, that are sold in a clean, bold, modern packaging that appeals to consumers.

        49.        The displays at Dollar Tree stores, which include large images of the Chartwell

Brands, have been instrumental in Chartwell’s marketing and sales. Consumers recognize and

desire the Chartwell Brands because of its distinctive logos, color schemes, and packaging.

        50.        Chartwell also advertises its Products via its website, www.chartwellproducts.com

(the “Chartwell Website”). The Chartwell Website offers a clean, minimalist design and font that

offers users a background on the Chartwell story, an overview of its products, and detail on its

retail business.

                             Team Impressions – Peel People Relationship

        51.        As noted, Peel People’s business began in 2013. At around the same time, it

became a customer of, or began otherwise affiliating with Team Impressions.

        52.        Not long after that, Team Impressions and Peel People began working in concert

with each other to compete against Chartwell, with Peel People designing and selling and Team

Impressions manufacturing the products.

        53.        Chartwell initially had concerns when it became apparent that Peel People was

selling products to other retailers that were confusingly similar to the Chartwell Products.

        54.        In June 2014, Chartwell confronted Team Impressions about concerns related to its

dealings with Peel People and the similarity of Peel People’s product to that of Chartwell. See

email exchange between Jan McCallum of Chartwell and Thomas Cipriani of Team Impressions,

copying Neil McCallum, attached hereto as Exhibit 4.

        55.        In this exchange, Chartwell confronted the ownership of Team Impressions with

the concern that Team Impressions had shared proprietary product information with Peel People



                                                   11
    Case: 1:19-cv-06944 Document #: 1 Filed: 10/22/19 Page 12 of 32 PageID #:12




and that Peel People was unfairly marketing those facsimile products.           Team Impressions

responded, writing that “Team is a manufacturer and does not control the products we

manufacture.” Ex. 4.

       56.     Amazingly, Mr. Cipriani even admits that some of Chartwell’s work was copied by

Peel People: “Did they [Peel People] copy some other things too, yes, but the product is at Dollar

Tree, anyone can copy the product.” Ex. 4.

       57.     Still, at that time, and repeatedly over the course of 2014 through 2018, Team

Impressions continued to state that it was only a manufacturer, and that it had no involvement in

what Peel People was doing, and denied that it was using, or sharing any of Chartwell’s proprietary

information with third-parties, including Peel People.

       58.     Team Impressions assured Chartwell that it was not marketing or selling competing

products that it had no conflicting relationship with its customers vis-a-vis Chartwell.

       59.     Given its long-standing relationship with Team Impressions, and the fact that there

were no outwardly apparent clues of affiliation at that time, legal or otherwise, Chartwell

reasonably relied upon Team Impressions’ representations, and continued to do business with

Team Impressions into early 2018.

                                      Defendants’ Bad Faith

       60.     Despite its representations to the contrary, it has recently become evident to

Chartwell that Team Impressions and Peel People were in fact engaged in a concerted effort to

steal Chartwell’s business.

       61.     Defendants’ bad faith is evident from the history of dealings between the parties,

overlap in roles of key personnel, and an examination of the trade dress used by Defendants, which

shows a clear copying of Chartwell Products.



                                                 12
    Case: 1:19-cv-06944 Document #: 1 Filed: 10/22/19 Page 13 of 32 PageID #:13




       62.     As noted above, Team Impressions was a long-standing contractual partner of

Chartwell, but at all times during that relationship, Team Impressions emphasized, and reiterated

that it was “only a manufacturer” with no conflicting role in sales, marketing or distribution of like

products.

       63.     In 2018, Peel People began selling a number of products to Dollar Tree that were

confusingly similar to the Chartwell Products. The side-by-side photographs set forth on Exhibit

1 demonstrate the striking similarities. For example, it is not simple coincidence that the Peel

People began selling various alphabet poster stickers, crystal stickers, cacti, succulents, various

butterfly stickers, llamas, donuts, and mandalas, all of which were strikingly similar to a

corresponding Chartwell Product, and all of which came to market after the Chartwell Products.

(See Ex. 1).

       64.     Around the same time in 2018, purchasing department personnel at Dollar Tree

confirmed to Chartwell that Peel People had become an alternative supplier of choice over

Chartwell for certain copied peel-and-stick product items.

       65.     At that time, Chartwell was not yet certain that Team Impressions was working

with Peel People, but it questioned how Peel People could possibly be selling to Dollar Tree at

price points that were so low, particularly since the business is already subject to extremely fine

margins.

       66.     Later, though, it became apparent: the vertical integration with Team Impressions,

and the use of Chartwell products allowed Peel People to save significantly, and thus, sell to Dollar

Tree at lower prices.

       67.     In hindsight, this comports with the fact that in 2017, Chartwell had asked Team

Impressions to bear some of the burden of Dollar Tree’s requests for pricing concessions, only for



                                                 13
    Case: 1:19-cv-06944 Document #: 1 Filed: 10/22/19 Page 14 of 32 PageID #:14




Team Impressions to refuse, which ultimately led to Chartwell’s initial decision to seek an

alternative manufacturer for its products. Team Impressions did not agree to share in pricing

concessions with Chartwell because it was profiting off sales as or with a Chartwell competitor.

       68.     In order to retain its business with Dollar Tree, Chartwell was forced to meet these

lower prices, which cost Chartwell approximately five cents ($00.05) on each product sold – a

huge loss in revenue for Chartwell.

       69.     By 2019, the scheme by Team Impressions and Peel People was no longer

clandestine, but had instead become brazen and obvious.

       70.     Chartwell came to have knowledge in August 2019 that Mr. Mark Meccia, a Team

Impressions employee, was also serving as a Peel People sales executive and was calling directly

on Dollar Tree purchasing department personnel.

       71.     Neil McCallum, while signing in to a meeting with a buyer in Dollar Tree’s Virginia

headquarters, noticed that Mr. Meccia had signed in for a meeting with the same representative

earlier that day. He did so as a representative of Peel People. Mr. McCallum then noticed Mr.

Meccia walking out of the building.

       72.     After further investigation, it became even more apparent that Mr. Meccia was

serving both entities. His LinkedIn page lists his current role as “VP Sales & Marketing at Team

Impressions, Inc.” whereas a Dun & Bradstreet corporate information search identifies Mr. Meccia

as the principal and CEO of Peel People, LLC. See Information regarding Mark Meccia roles,

attached hereto as Exhibit 5.

       73.     In addition to the foregoing instances of price manipulation, and clear

misrepresentations regarding roles, the products themselves demonstrate the obvious nature of the

Defendants’ malfeasance.



                                                14
    Case: 1:19-cv-06944 Document #: 1 Filed: 10/22/19 Page 15 of 32 PageID #:15




        74.     The Defendant Products were all packaged in exactly the same way as the Chartwell

Products, and included numerous elements that were copied from the Chartwell Products. From a

technical perspective, the only way that these products could be so strikingly similar would be if

they used Chartwell’s digital production files, which Team Impressions had access to. To further

demonstrate the undisputable misuse of Chartwell’s production files and trade dress, Exhibit 6

attached hereto depicts Chartwell’s and Peel People’s respective products over-laid upon each

other. The remarkable likeness of trade dress and the essence of Chartwell’s products cannot be

coincidental.

        75.     The production files are what are ultimately used by a printer/manufacturer to

create plates, which are then utilized to manufacture the physical product. Even the best third-

party designer could not create a product that is so strikingly similar to the Chartwell Products in

so many ways.

        76.     Defendant Products include: (i) a small header, differentiated in a different, bold

color, that states at the top “Peel & Stick”; (ii) a photograph of the Products themselves in use on

the right side of the header; (iii) headers in two distinctive, primary colors, depending on the brand

– lime green for its generic “Peel and Stick” brand and navy blue for its “DIY Décor” brand; (iv)

transparent packaging that allows for full display of all Products; (v) inclusion of a small green dot

on the front of the package that says “Go Green” as an indicator of environmental consciousness;

(v) the Products themselves, which due to their high visibility, are distinctive; (vii) a backside label

that encourages consumers to post and share their creations on Facebook, includes the moniker

“Made in the USA,” contains application instructions for the Products, advises that the Products

are choking hazard, and includes further reproductions of the Products.




                                                  15
    Case: 1:19-cv-06944 Document #: 1 Filed: 10/22/19 Page 16 of 32 PageID #:16




       77.       The Defendant Products are identical in size, dimensions, layout, and overall gestalt

to the Chartwell Products. Each of these components of Defendant Products infringes upon the

Chartwell Products and trade dress. This is particularly evident when viewed in the aggregate, and

the respective products are viewed side-by-side. See Exhibit 1 and Exhibit 2.

       78.       Furthermore, in a more subtle indicator that Defendants stole Chartwell Products,

they copied a part of the design that was a Chartwell-specific indicator to retailers regarding the

stocking of Chartwell Products in Chartwell-owned displays. Specifically, right under the SKU

number on the upper right-hand corner of the back of the packaging, the Chartwell products have

an indicator that says, “Décor Rack.” This indicates to stock personnel at Dollar Tree where to

place the product. Defendants copied this scheme, and their products say “Graphics Rack” in the

same location.

       79.       On the whole, it is simply unfeasible that Defendants could have mirrored each and

every distinctive element of the Chartwell Products to this extent but for their flagrant, willful

copying of the Chartwell Products.

       80.       It is abundantly clear that Defendants began selling the Defendant Products in a

direct attempt to steal Chartwell’s trade dress and designs, and undercut Chartwell by unfairly

competing in the marketplace.

       81.       Defendants are not even trying to hide the fact that their entire business model is

based on copying Chartwell. The respective websites for Chartwell and Peel People, used to

market products, are also strikingly similar. Both contain the same minimalist design and font.

See www.thepeelpeople.com. A sample screen capture of both sites is attached hereto as Exhibit

7. Peel People clearly tried to copy every single element of Chartwell’s business.




                                                  16
    Case: 1:19-cv-06944 Document #: 1 Filed: 10/22/19 Page 17 of 32 PageID #:17




       82.     When viewed in the context of the timeline of the Team Impressions-Peel People

relationship, this nefarious plot becomes even more obvious.

                             Confusion and Likelihood of Confusion

       83.     Given the striking similarity between the parties’ respective products and trade

dress, there is a high likelihood that consumers and retailers will confuse the products.

       84.     In fact, there is evidence that confusion in the marketplace has already occurred.

As evidenced in Exhibit 2, Dollar Tree has already started intermingling Defendant Products and

Chartwell Products, specifically offering for sale the Defendant Products in display cases clearly

marked for Chartwell Products.

       85.     This retailer confusion and placement further exacerbates the likelihood of

confusion as to the end consumer, who has no reasonable way to discern the origin of the products.

       86.     In fact, Defendants’ conduct has caused actual consumer confusion.             In a

YouTube® video from a brand influencer that creates content in the arts and crafts space under

the title “Thrifted Living” the person in the video is displaying and discussing potential uses for

Chartwell’s Main Street Wall Creations decals, when she happens upon one of Defendants’ decals,

and expresses confusion as to the origin of the same.

       87.     The YouTube video showing actual consumer confusion is available at:

https://www.youtube.com/watch?v=Sg26lM8O8VM&t=230s.                 The confusion is illustrated

throughout, including at the 2:48 mark, when the presenter expresses that she “doesn’t know”

whether the products being discussed are Main Street (Chartwell) brand (they are not), and again

at 3:54 when she shows the Defendants’ llama decals, and this time, the person in the video does

not even notice that the product is not a Chartwell Product.




                                                 17
    Case: 1:19-cv-06944 Document #: 1 Filed: 10/22/19 Page 18 of 32 PageID #:18




       88.     The Thrifted Living YouTube page has over 84,200 followers, and the video linked

above has over 4,259 views, meaning additional consumers are being exposed to this confusion,

just from watching these videos.

                                      Chartwell Trade Secrets

       89.     Chartwell’s trade dress, including the actual designs, are not the only components

of the Chartwell Products that Defendants’ had access to, that allowed it to gain an unfair

advantage in the marketplace.

       90.     Since its inception, Chartwell has devoted significant resources to research and

development in order to establish technical specifications for the Chartwell Products that are both

trendy and artful, but that also present the highest performance standard in the industry for

removable wall decals consistent with the desires and demands of consumers.

       91.     For example, with its own team of printing specialists and technicians, Chartwell

spent considerable monies developing the optimized and proprietary marriage of compatible paper

backing materials, print surfaces of film and foil, metallic inks, and specialized adhesives and glues

which would achieve the required performance results and quality standards of its customers.

       92.     All of these efforts required Chartwell to incur significant time and expense.

       93.     In addition, Chartwell has spent its entire existence working on processes, work

flow procedures, and other day-to-day operational efficiencies that allowed it to set competitive

pricing in an industry where margins are often extremely thin.

       94.     Team Impressions, as its manufacturer, was privy to the key components of

Chartwell’s pricing and sales figures. As noted above, this allowed Defendants to offer Dollar

Tree competitive products that forced Chartwell to lower its prices by approximately five cents

per unit, greatly diminishing its revenue.



                                                 18
    Case: 1:19-cv-06944 Document #: 1 Filed: 10/22/19 Page 19 of 32 PageID #:19




       95.     Chartwell undertook to keep its technical specifications, testing, and related

research and development secret, sharing it only with those parties who needed to know this

information to produce the Chartwell Products. This included the proprietary production files that

Chartwell provided to Team Impressions in order to manufacture its products.

       96.     Chartwell chose to develop its technologies and specifications within its own team

of specialists with the intent of maintaining its trade secrets and technical advantages from other

decal developers and marketers. Under certain circumstances, Chartwell was required to divulge

these specifications to Team Impressions as part of the manufacturing process. Team Impressions

was aware of the confidential nature of this information. In sharing this information, Chartwell

relied upon Team Impressions’ representations that it was a manufacturer and not a marketer and

seller of such decal products.

       97.     All of the above is clearly sufficient to derive economic value. Defendants have

not had to do any product research and development, they have not had to employ creative

personnel to develop designs that are attractive to consumers, they have utilized this information

to sell to retailers and consumers at preferred price points and undercut Chartwell’s prices, and

they have used all of this to usurp Chartwell’s business.

                                         Irreparable Harm

       98.     Defendants have gone far beyond fair competition, and have clearly engaged in a

concerted effort to copy the Chartwell Products, confuse consumers, and nudge Chartwell out of

the marketplace.

       99.     If Defendants are allowed to continue, Chartwell will suffer irreparable harm.

Chartwell will continue to lose sales and revenue, both to retailers and consumers.




                                                19
     Case: 1:19-cv-06944 Document #: 1 Filed: 10/22/19 Page 20 of 32 PageID #:20




        100.    Chartwell has spent most of its existence building up strong relationships with

retailers, and building a sterling reputation in the industry, but this good will is seriously threatened

by Defendants.

        101.    Furthermore, Chartwell simply cannot sustain the margins required to stay in

business in an industry where products are sold at such a low price point (including at Dollar Tree,

other dollar stores and other discount retailers), when Defendants are allowed to unfairly compete

by copying the trade dress and the essence of products while having access to its confidential

information.

        102.    Defendants cannot be allowed to continue to cut corners, undercut Chartwell and

thereby cripple Chartwell’s efforts to maintain or grow its business.


                                          COUNT I
     (Trade Dress Infringement, False Designation of Origin and False Advertising under
                    Section 43(a) of the Lanham Act (41 U.S.C. § 1125(a))
                              Team Impressions and Peel People

        103.    Chartwell reasserts and realleges each and every allegation contained in Paragraphs

1-102 above as though fully set forth herein.

        104.    The trade dress components of the Chartwell Products are non-functional,

inherently distinctive and have acquired secondary meaning in the marketplace. In particular, as

evidenced by the YouTube video described above, the Main Street brand has established a sterling

reputation in the arts and crafts space, drawing praise from key influencers, who clearly recognize

the product based upon its distinctiveness at Dollar Tree and elsewhere.

        105.    The Defendant Products, which are now being used in commerce, feature trade

dress that is substantially and confusingly similar to the trade dress of the Chartwell Products, and

is being sold and marketed through a scheme designed to confuse retailers and consumers.



                                                   20
    Case: 1:19-cv-06944 Document #: 1 Filed: 10/22/19 Page 21 of 32 PageID #:21




          106.   Defendants’ manufacture, distribution, sale, and promotion of the Defendant

Products, thus, has caused confusion, and is likely to continue to cause confusion and mistake and

deceive retailers and consumers as to the source, origin, and sponsorship of the parties’ products.

Consumers that see the Defendant Products in the marketplace are likely to believe that the goods

originated from, are associated with, or are otherwise affiliated with the Chartwell Products, or

vice versa.

          107.   The display of Defendant Products next to, adjacent to, or mixed in with Chartwell

Products implies that the parties’ products come from the same source, as exacerbated by the

identical size, design, and overall trade dress of the Defendant Products.

          108.   Defendants’ acts of unfair competition, trade dress infringement, false designation

of origin, and false advertising, unless restrained, will continue to cause great and irreparable injury

to Chartwell and to the business and good will that Chartwell has built over its history. The exact

amount of this ongoing harm cannot be ascertained, and thus, Chartwell has no adequate remedy

at law.

          109.   Such irreparable, ongoing harm is in addition to the actual damages that Chartwell

has already sustained as a result of lost sales directly caused by Defendants’ conduct.

          110.   Defendants’ conduct constitutes false designation of origin, infringement of trade

dress, and false advertising in violation of Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a).

          WHEREFORE, Chartwell respectfully requests that this Court grant judgment in its favor

on this Count I for violations of Section 43(a) of the Lanham Act, and grant it relief in the form of

actual damages, injunctive relief, and such other relief this court deems just and appropriate.


                                          COUNT II
                           (Unfair Competition 815 ILCS 505/1 et seq.)
                                Team Impressions and Peel People

                                                  21
    Case: 1:19-cv-06944 Document #: 1 Filed: 10/22/19 Page 22 of 32 PageID #:22




       111.    Chartwell reasserts and realleges each and every allegation contained in Paragraphs

1-110 above as though fully set forth herein.

       112.    The elements that must be proven to sustain a private cause of action under the

Illinois Consumer Fraud and Deceptive Business Practices Act include the following: (1) a

deceptive act or practice by the defendant; (2) the defendant intended the plaintiff to rely on the

deception; (3) the deception occurred in the course of conduct involving trade or commerce; and

(4) actual damages sustained as a proximate cause of the deception.

       113.    Defendants have committed numerous deceptive acts and practices, including lying

to Chartwell about its efforts in sales and distribution of products, concealment of the relationship

between Team Impressions and Peel People, engaging in a scheme to ensure that it’s products

would be displayed side-by-side with Chartwell Products in Chartwell displays, and production of

packaging and products that are essentially identical to Chartwell Products.

       114.    Defendants clearly intended for Chartwell to rely on its false statements so that

Chartwell would continue doing business with Team Impressions, and so that Chartwell would not

discover Defendants’ nefarious scheme.

       115.    Defendants also clearly intended for its products and packaging to be substantially

similar to Chartwell Products so that consumers of the products would not be able to reasonably

discern Chartwell Products from the Defendant Products.

       116.    These actions all occurred in the course of trade and commerce.

       117.    Chartwell has suffered actual damages in the way of lost sales and profits.

       WHEREFORE, Chartwell respectfully requests that this Court grant judgment in its favor

on this Count II for violations of the Illinois Consumer Fraud and Deceptive Business Practices




                                                 22
    Case: 1:19-cv-06944 Document #: 1 Filed: 10/22/19 Page 23 of 32 PageID #:23




Act, and grant it relief in the form of actual damages, attorneys’ fees and costs, punitive damages,

injunctive relief, and such other relief this court deems just and appropriate.

                                     COUNT III
           (Misappropriation of Trade Secrets under 765 ILCS 1065/1 et seq.)
                          Team Impressions and Peel People

       118.    Chartwell reasserts and realleges each and every allegation contained in Paragraphs

1-117 above as though fully set forth herein.

       119.    The elements of a claim for misappropriation of trade secrets under the Illinois

Trade Secrets Act are as follows: (1) a trade secret existed; (2) the secret was misappropriated

through improper acquisition, disclosure, or use; and (3) the owner of the trade secret was damaged

by the misappropriation. See 765 ILCS 1065/1 et seq; Liebert Corp. v. Mazur, 827 N.E.2d 909,

925 (Ill. App. 1st 2005).

       120.    A trade secret is defined as:

       Information, including but not limited to, technical or non-technical data, a formula,
       pattern, compilation, program, device, method, technique, drawing, process,
       financial data, or list of actual or potential suppliers, that: (1) is sufficiently secret
       to derive economic value, actual or potential, from not being generally known to
       other persons who can obtain economic value form its disclosure or use; and (2) is
       the subject of efforts that are reasonable under the circumstances to maintain its
       secrecy or confidentiality under the Act. 765 ILCS 1065/2(d).

       121.    As detailed, Chartwell had significant trade secrets that were shared with Team

Impressions on a confidential basis, and only for the purpose of manufacturing its products. Such

trade secrets included pricing models, production files, designs, specific product specifications and

technical components of its decals, and other key elements of its trade dress.

       122.    Here, Chartwell’s confidential information misappropriated by Defendants was

sufficiently secret to derive economic value.




                                                  23
    Case: 1:19-cv-06944 Document #: 1 Filed: 10/22/19 Page 24 of 32 PageID #:24




       123.    The pricing information is economically valuable because it allows Chartwell to

solicit business from its clients at preferred pricing margins that allow Chartwell’s business to

continue to operate. In an industry such as this with low price points, fine margins are absolutely

essential. By having access to Chartwell’s pricing models, Team Impressions and Peel People

were able to match and undercut Chartwell’s pricing to a level that rendered continued business

with Dollar Tree and other customers impossible.

       124.    The technical specifications and production files are, likewise, of critical economic

importance because Chartwell has spent years, and significant cost expenditures to develop and

strengthen its product specifications to ensure that the products met the quality assurance standards

of its clients, including Dollar Tree. Defendants were able to simply take that information, invest

little research and development of their own into products, and replicate the same at a lower cost

to undercut Chartwell.

       125.    The Chartwell Trade Secrets, including as detailed in Paragraphs 90 through 98

above, are inherently economically valuable. Without access to this information, Defendants

would have had to spend countless hours and spend real dollars to develop their own product

specifications, research and understand pricing factors within the industry. Without

misappropriating The Chartwell Trade Secrets, Defendants would have had to invest heavily to

acquire the necessary industry know-how that would have been required to fairly compete with

Chartwell. Instead, they took unlawful shortcuts to gain an unfair advantage.

       126.    Chartwell undertook reasonable efforts to protect and maintain the secrecy of its

Trade Secrets. Chartwell safeguards its design creations in secure password, and administrator

protected storage files; it has consistently developed its printing materials (paper, film and foil




                                                 24
    Case: 1:19-cv-06944 Document #: 1 Filed: 10/22/19 Page 25 of 32 PageID #:25




materials together with adhesives) in secret and supplies such to its printing vendors as proprietary

methods and formulas, and only on an as-needed basis.

       127.    These facts clearly demonstrate that (a) the Chartwell Trade Secrets meet the

definition contained in Section 1065/2 of the Illinois Trade Secrets Act, and (b) that Defendants

misappropriated the same, to their benefit.

       128.    Section 1065/3 of the Illinois Trade Secrets Act provides for injunctive relief to

protect trade secrets:

       Actual or threatened misappropriation may be enjoined. Upon application to the
       court, an injunction may be terminated when the trade secret has ceased to exist,
       provided that the injunction may be continued for an additional reasonable period
       of time in appropriate circumstances for reasons including, but not limited to an
       elimination of the commercial advantage that otherwise would be derived from the
       misappropriation, deterrence of willful and malicious misappropriation, or where
       the trade secret ceases to exist due to the fault of the enjoined party or others by
       improper means. 765 ILCS 1065/3(a).

       129.    This Section of the Illinois Trade Secrets Act also provided that if it would be

unreasonable to enjoin future use due to an overriding public interest, future use may be

conditioned upon payment of a reasonable royalty, and in appropriate circumstances, affirmative

acts to protect trade secrets may be compelled. 765 ILCS 1065(3)(b)-(c).

       130.    In this case, the overwhelming facts demonstrate that Defendants’ theft of

Chartwell’s trade secretes was willful and malicious – they saw an opportunity to take advantage

of a successful business model by copying it in nearly every material respect to their own economic

benefit.

       131.    No other Chartwell competitor would have the opportunity to compete in the same

manner, and Defendants were only able to do so as a result of their wrongful conduct.

       WHEREFORE, Chartwell respectfully requests that this Court grant judgment in its favor

on this Count III, award it damages, attorneys’ fees and costs, and punitive damages, and enter an

                                                 25
    Case: 1:19-cv-06944 Document #: 1 Filed: 10/22/19 Page 26 of 32 PageID #:26




order providing for preliminary and permanent injunctive relief in its favor and against Defendants,

including, but not limited to the following relief:

           a. enjoin Defendants from directly or indirectly servicing Chartwell clients, including

               Dollar Tree;

           b. enjoin Defendants from directly or indirectly utilizing any of Chartwell’s vendors

               or any other parties that may have information regarding Chartwell’s Trade Secrets;

           c. enjoin Defendants from any further disclosure or use of Chartwell trade secrets,

               including destruction and/or return of the same; and

           d. such other relief this Court deems just and appropriate.


                                          COUNT IV
                                 (Fraudulent Misrepresentation)
                                       Team Impressions

       132.    Chartwell reasserts and realleges each and every allegation contained in Paragraphs

1-131 above as though fully set forth herein.

       133.    In 2014, Chartwell first grew curious regarding the relationship between Team

Impressions and Peel People. Jan McCallum, then Chartwell CEO, made specific inquiries to

Team Impressions personnel regarding Team Impressions manufacturing “copied” product for the

Peel People.

       134.    In the June 2014 email exchange with Thomas Cipriani of Team Impressions, Mr.

Cipriani made numerous false representations to Mrs. McCallum, which were intended to, and did

in fact lead her to rely upon his representations that Team was only a manufacturer of products,

and that it had no control over what products it manufactured. See Ex. 4.

       135.    As late as January of 2018, Tom Cipriani of Team in an email communication to

Neil McCallum of Chartwell reiterated “I have often told you, we don’t and won’t manufacture

                                                 26
     Case: 1:19-cv-06944 Document #: 1 Filed: 10/22/19 Page 27 of 32 PageID #:27




product for Dollar Wall Décor Decals, as we did not want competition for Chartwell. Your

response was ‘You understand’.” This statement was knowingly false and deceptive. See Exhibit

8.

       136.    As a result of these representations and assurances, Chartwell continued to do

business with Team Impressions, which necessarily included continued access to Chartwell

Products and other critical business information such as the Chartwell Trade Secrets.

       137.    Given that Chartwell and Team Impressions had a long-time business relationship,

Chartwell justifiability relied upon the reassurances from Team Impressions that it was not using

Chartwell Products or Chartwell Trade Secrets for any improper purpose – namely, supplying the

same to Peel People in order to compete with Chartwell.

       138.    The statements made by Team Impressions, however, were false.                 Team

Impressions were clearly acting in concert with Peel People, and had provided Peel People with

Chartwell’s artwork, designs, technical specifications, and other Chartwell Trade Secrets.

       139.    The statements made by Team Impressions were intended to induce Chartwell to

continue to do business with Team Impressions, and to conceal what was really going on – that

the Chartwell Products were being stolen in virtually every facet.

       140.    The false statements intended to induce action and conceal facts were made

willfully, wantonly, and with the intent to defraud Chartwell.

       141.    As a direct and proximate result thereof, Chartwell did, in fact, continue to do

business with Team Impressions for several more years, and did not discover what was transpiring

until late 2018 and into 2019.

       142.    This caused actual damage to Chartwell.




                                                27
    Case: 1:19-cv-06944 Document #: 1 Filed: 10/22/19 Page 28 of 32 PageID #:28




       WHEREFORE, Chartwell respectfully requests that this Court enter judgment in its favor

on this Count IV, and award it monetary damages, attorneys’ fees and costs, punitive damages,

and such other relief that this Court deems just and appropriate.


                                         COUNT V
                     (Tortious Interference with Business Relationships)
                             Team Impressions and Peel People

       143.    Chartwell reasserts and realleges each and every allegation contained in Paragraphs

1-142 above as though fully set forth herein.

       144.    Chartwell had a long-standing business relationship with Dollar Tree.

       145.    Because Team Impressions’ business relationship with Chartwell was for the

purpose of printing Chartwell Products for sale and distribution to Dollar Tree, Team Impressions

had actual knowledge of this relationship.

       146.    Likewise, as a competitor of Chartwell, and the entity that wrongfully infringed

upon the Chartwell Products for the purpose of competing, and given its close affiliate relationship

to Team Impressions, Peel People also had knowledge of Chartwell’s business relationship with

Dollar Tree.

       147.    Team Impressions and Peel People engaged in intentional, wrongful efforts to

interfere with the Chartwell-Dollar Tree relationship.

       148.    Such efforts included, but were not limited to:

           a. communicating with Dollar Tree, and selling Dollar Tree the Defendant Products

               that were copied from Chartwell, and were intended to replace Chartwell Products;

           b. manufacturing products that infringed upon, and were intended to serve as a

               facsimile of the Chartwell Products;




                                                28
    Case: 1:19-cv-06944 Document #: 1 Filed: 10/22/19 Page 29 of 32 PageID #:29




           c. misappropriating Chartwell’s technical specifications and using its production files

               to ensure that the Defendant Products met Dollar Tree’s quality standards and

               closely mirrored the Chartwell Products; and

           d. misappropriating Chartwell’s pricing data so that Defendants could ensure that its

               own offerings to Dollar Tree were provided at a price point that would undercut

               Chartwell, and make it impossible or nearly impossible for Chartwell to compete

               by offering a lower price.

       149.    As a direct and proximate result of Defendants’ conduct, Dollar Tree did, in fact,

cease doing significant business with Chartwell.

       150.    As a result of this lost business, Chartwell suffered actual damages.

       WHEREFORE, Chartwell respectfully requests that this Court enter judgment in its favor

on this Count V, grant injunctive relief, and award it monetary damages, attorneys’ fees and costs,

punitive damages, and such other relief this Court deems just and proper.


                                        COUNT VI
                             (Conspiracy to Tortiously Interfere)
                              Team Impressions and Peel People

       151.    Chartwell reasserts and realleges each and every allegation contained in Paragraphs

1-150 above as though fully set forth herein.

       152.    Defendants, which were affiliated, had an agreement to engage in concerted efforts

to copy Chartwell’s products, and then use the same to divert Chartwell’s customers to Peel People.

       153.    These efforts included intentional false statements and acts of concealment to

prevent Chartwell from discovering the Defendants’ motives and conduct.

       154.    Team Impressions knew it could continue working with Chartwell, all the while

building its business with Peel People in order to unfairly compete with Chartwell.

                                                29
    Case: 1:19-cv-06944 Document #: 1 Filed: 10/22/19 Page 30 of 32 PageID #:30




       155.    Over a period of time, Defendants lulled Chartwell into a sense of security, while

collecting further information on its overall business, including its products, pricing, and other key

components, in order to develop their own line of business.

       156.    All Defendants participated in this common scheme.

       157.    This scheme was employed to, and did in fact, cause interference with Chartwell’s

business relationship with Dollar Tree.

       158.    Defendants’ conduct was intentional, and they knew that they were interfering with

Chartwell’s relationship with Dollar Tree.

       159.    Defendants’ conduct in furtherance of this conspiracy caused Chartwell to lose an

immeasurable amount of business in the form of lost sales, and damage to its good will and

reputation, which cannot be fully compensated through money damages.

       WHEREFORE, Chartwell respectfully requests that this Court enter judgment in its favor

on this Count VI, grant injunctive relief, and award it monetary damages, attorneys’ fees and costs,

punitive damages, and such other relief this Court deems just and proper.




                                                 30
     Case: 1:19-cv-06944 Document #: 1 Filed: 10/22/19 Page 31 of 32 PageID #:31




                                       JURY TRIAL DEMAND

        Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff demands a trial by

jury in this action of all issues so triable.


                                         CHARTWELL STUDIO, INC.




                                         By:_____/s/Brian C. Konkel____________________
                                               One of its Attorneys

                                                DUGGAN BERTSCH, LLC
                                                Timothy Liam Epstein, Esq.
                                                Brian C. Konkel, Esq.
                                                303 West Madison – Suite 1000
                                                Chicago, IL 60606
                                                (312) 263-8600
                                                tepstein@dugganbertsch.com
                                                bkonkel@dugganbertsch.com




                                                  31
    Case: 1:19-cv-06944 Document #: 1 Filed: 10/22/19 Page 32 of 32 PageID #:32




                 IN THE UNITED STATES DISTRICT COURT FOR
            THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

CHARTWELL STUDIO, INC.                               )
                                                     )
                      Plaintiff,                     )        Case No.: 1:19-cv-06944
                                                     )
       v.                                            )
                                                     )
TEAM IMPRESSIONS, INC.                               )
THE PEEL PEOPLE, LLC                                 )
                                                     )
                      Defendants.                    )

                          CHARTWELL STUDIO, INC.’S
                   LOCAL RULE 3.2 NOTIFICATION OF AFFILIATES

       Plaintiff, Chartwell Studio, Inc., pursuant to Local Rule 3.2, hereby states that it is a

nongovernmental party that has no publicly held affiliates.

                                     CHARTWELL STUDIO, INC.



                                      By:_____/s/Brian C. Konkel____________________
                                            One of its Attorneys

                                             DUGGAN BERTSCH, LLC
                                             Timothy Liam Epstein, Esq.
                                             Brian C. Konkel, Esq.
                                             303 West Madison – Suite 1000
                                             Chicago, IL 60606
                                             (312) 263-8600
                                             tepstein@dugganbertsch.com
                                             bkonkel@dugganbertsch.com
